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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5    Attorney for Defendant
     AGUSTIN PENA-CONTRERAS
6
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,       )      No. 2:11 CR 00338-GEB
10                                   )
                    Plaintiff,       )
11                                   )      STIPULATION AND [PROPOSED] ORDER
          v.                         )      TO CONTINUE STATUS CONFERENCE
12                                   )
     AGUSTIN PENA-CONTRERAS,         )
13   et al.,                         )      Date: February 24, 2012
                                     )      Time: 9:00 a.m.
14                  Defendants.      )      Judge: Hon. Garland E. Burrell
                                     )
15   _______________________________ )
16           The parties request that the status conference in this case be
17   continued from January 20, 2011, to February 24, 2012 at 9:00 a.m.        They
18   stipulate that the time between January 18, 2011, to February 24, 2012
19   should be excluded from the calculation of time under the Speedy Trial
20   Act.   The parties stipulate that the ends of justice are served by the
21   Court excluding such time, so that counsel for the defendants may have
22   reasonable time necessary for effective preparation, taking into account
23   the exercise of due diligence. 18 U.S.C §3161(h)(7)(A) and (B)(iv).
24   Specifically, counsel needs additional time to negotiate a resolution to
25   this matter and to investigate the facts of the case, which involves
26   additional visits to the remote scene of the crime, and interviews of
27   witnesses who are currently out of the country. The parties stipulate and
28   agree that the interests of justice served by granting this continuance
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1    outweigh the best interests of the public and the defendant in a speedy
2    trial. 18 U.S.C §3161(h)(7)(A) and (B)(iv).
3    Dated: January 18, 2012          Respectfully submitted,
4                                     DANIEL BRODERICK
                                      Federal Defender
5
                                      /s/ Douglas Beevers
6                                     DOUGLAS BEEVERS,
                                      Assistant Federal Defender
7                                     Attorney for Defendant
                                      AGUSTIN PENA-CONTRERAS
8
     Dated: January 18 2012           /s/ Olaf Hedberg
9                                     OLAF HEDBERG
                                      Attorney for Defendant
10                                    NEMECIO GARCIA-ALCAZAR
11
     Dated: January 18, 2012          BENJAMIN B. WAGNER
12                                    United States Attorney
13                                    /s/ Heiko Coppola
                                      HEIKO COPPOLA
14                                    Assistant United States Attorney
15                                        ORDER
16        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
17   ordered that the status conference presently set for January 20, 2012, be
18   continued to February 24, 2012, at 9:00 a.m. Based on the representation
19   of counsel and good cause appearing therefrom, the Court hereby finds
20   that the ends of justice to be served by granting a continuance outweigh
21   the best interests of the public and the defendant in a speedy trial.   It
22   is ordered that time from the date of this Order, to and including, the
23   January 20, 2012, status conference shall be excluded from computation of
24   time within which the trial of this matter must be commenced under the
25   Speedy Trial Act pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and
26   Local Code T-4.
27   1/17/12
28                                           GARLAND E. BURRELL, JR.
                                             United States District Judge

     Stip and Order                        -2-
